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June 25, 2018

Honorable Vernon S. Broderick ) PR Sot
United States District Judge

United States Courthouse

40 Foley Square

New York, New York 10601

RE: Weiss v. City University of New York, et al.,
Docket No: 17 Civ. 3557 (VSB);

Serve New Defendants, Foil Request, Legal Assistance

Dear Judge Broderick,

I am writing to respectfully request permission to serve the new defendants added to the
amended complaint. The Pro Se office said that I cannot serve them myself and that the judge needs to
grant the Marshalls permission to serve the new defendants. I am respectfully requesting permission
for the Marshalls to serve the additional defendants as per the agreement discussed at the November 9,
2017 hearing.

Additionally, I have filed a FOIL request with the school and I respectfully requesting access to
the information requested.

Finally, I have reached out to the federally funded Pro Se Legal Assistance Clinic to obtain legal
assistance for the response to the Defendants Motion to Dismiss but did not hear back from them. I am

respectfully requesting legal assistance to help me draft a response for the Motion to Dismiss.

Respectfully submitted,
4 Ven,

Faigy Rachel Weiss,
Pro Se Plaintiff
